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                      UNITED STATES DISTRICT COURT                    o r-y
                     SOUTHERN DISTRICT OF GEORGIA                     f- -cit
                              SAVANNAH DIVISION


 UNITED STATES OF AMERICA                         CR417-208
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                                                                     => w
         V.




 ORANDA RASHEED WALKER


                      CONSENT ORDER OF FORFEITURE


      WHEREAS, on August 2, 2017, a federal grand jury sitting in the Southern

District of Georgia returned a 22-count Indictment against Defendant Oranda

Rasheed Walker and 19 others charging violations of 21 U.S.C. § 846 (Count One —

Conspiracy to Possess with Intent to Distribute and to Distribute Controlled

Substances and to Manufacture Crack Cocaine); 21 U.S.C. § 841(a)(1)(Counts Two,

Six, Fourteen, and Twenty through Twenty-Two - Possession of Marijuana with

Intent to Distribute); 21 U.S.C. § 841(a)(1)(Count Three - Possession of 500 Grams

or More of Cocaine with Intent to Distribute); 21 U.S.C. § 841(a)(1) (Counts Four,

Twelve, and Nineteen - Possession of Cocaine with Intent to Distribute); 21 U.S.C. §

841(a)(1)(Counts Five and Thirteen -Possession of Cocaine Base "Crack" with Intent

to Distribute); 18 U.S.C. § 922(g)(1)(Counts Seven through Nine and Counts Fifteen

through Seventeen - Felon in Possession of a Firearm); 18 U.S.C. § 924(c)(1)(A)

(Counts Ten and Eighteen - Possession of a Firearm in Furtherance of a Drug

Trafficking Crime); and 21 U.S.C. § 841(a)(1)(Count Eleven - Possession of Heroin

with Intent to Distribute);
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